Case 2:01-cV-02188-.]DB-STA Document 111 Filed 09/01/05 Page 1 of 2 Page|D 84

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IN THE UNITED sTATEs DISTRICT COURT " ¢G:* D-C-
FoR THE wEsTERN DISTRICT oF TENNESSEE _ _
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RACHAEL KATHRYN WHITE, CLEP.}T;:%§ d[r" l§J(f§lk‘n{"}.i}L|HT
‘v"\'i)` C‘F :~ @HIS
Plaintiff,
V_ No. 01-2188FB/An

SUNBELT RENTALS, et al.,

Defendants .

 

ORDER

 

This court, having been advised by counsel for the parties that settlement has been
reached on all matters in this case, directs that this action be DISMISSED. Furthermore, any
pending motions are DENIED as moot and all proceedings currently set before the court are
removed from the court’s calendar.

The dismissal granted herein shall be Without prejudice for a period of 30 days from the
entry of this order. If settlement is not consummated within that 30 day period, the parties may
reopen this action upon motion approved by the court. Should the parties fail to move to reopen
the case within the prescribed period, the matter shall, Without further order, stand dismissed
W_it_h prejudice.

Cl\
IT rs so 0RDERED this 33 day of August, 2005.

J. DANIEL BREEN \
NIT D sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 111 in
case 2:01-CV-02188 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

